   Case: 1:18-cv-05369 Document #: 62 Filed: 05/24/19 Page 1 of 2 PageID #:1541



                 IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

    UBIQUITI NETWORKS, INC.,

                             Plaintiff,

                        v.

    CAMBIUM NETWORKS, INC.;                            Civil Action No.: 1:18-cv-05369
    CAMBIUM NETWORKS, LTD.;
    BLIP NETWORKS, LLC;                                JURY TRIAL DEMANDED
    WINNCOM TECHNOLOGIES, INC.;
    SAKID AHMED; and DMITRY
    MOISEEV.

                             Defendants.


                               NOTICE OF PRESENTMENT

       PLEASE TAKE NOTICE that on May 30, 2019 at 9:00 a.m., the undersigned shall
appear before the Honorable Gary Feinerman in Courtroom 2125 of the Dirksen Federal
Building, 219 S. Dearborn Street, Chicago, Illinois, and shall then and there present Plaintiff’s
Motion for Extension of Time to File Amended Complaint, a copy of which is herewith
served upon you.

Dated: May 24, 2019

                                            Respectfully submitted,


                                            FOX SWIBEL LEVIN & CARROLL LLP

                                            /s/ Erik J. Ives
                                            David Koropp (ARDC #6201442)
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                                            Attorneys for Plaintiff Ubiquiti Networks, Inc.
   Case: 1:18-cv-05369 Document #: 62 Filed: 05/24/19 Page 2 of 2 PageID #:1542



                               CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that on May 24, 2019, he caused the foregoing
document to be electronically filed with the Clerk of the United States District Court for the
Northern District of Illinois, Eastern Division, using the Court’s CM/ECF system, which is also
served upon counsel for all parties of record.



                                                   /s/ Erik J. Ives
                                                   Erik J. Ives
